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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

_____________________________________
                                        )
HAITIAN-AMERICANS UNITED, INC., )
BRAZILIAN WORKER CENTER,                )
CHELSEA COLLABORATIVE, INC. and )
CENTRO PRESENTE,                        )
                                        )
                       Plaintiffs,      )
                                        )
v.                                      )             Case No. 20-11421-DPW
                                        )
DONALD J. TRUMP, President of the       )
United States in his Official Capacity, )
UNITED STATES DEPARTMENT OF             )
COMMERCE, UNITED STATES                 )
BUREAU OF THE CENSUS, STEVEN            )
DILLINGHAM, Director of the U.S.        )
Census Bureau in his Official Capacity, )
and WILBUR ROSS, Secretary of the       )
Department of Commerce in his Official  )
Capacity,                               )
                                        )
                       Defendants.      )
____________________________________)

      MEMORANDUM IN SUPPORT OF PLAINTIFFS’ APPLICATION FOR THE
              APPOINTMENT OF A THREE-JUDGE COURT

       By accompanying Application, Plaintiffs Haitian-Americans United, Inc., Brazilian

Worker Center, Chelsea Collaborative, Inc., and Centro Presente request the appointment of a

three-judge court to adjudicate this action, pursuant to 28 U.S.C. § 2284(a). In this action,

Plaintiffs are challenging a Memorandum issued by President Donald J. Trump on July 21, 2020,

titled “Excluding Illegal Aliens from the Apportionment Base Following the 2020 Census” (the

“Memorandum”) on a variety of grounds, including that it purports to exclude undocumented

immigrants from the basis for congressional apportionment in violation of the U.S. Constitution.

Section 2284(a) requires the appointment of a three-judge court in actions challenging “the
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constitutionality of the apportionment of congressional districts,” as this action plainly does.

Indeed, in recent weeks the United States District Courts for the Southern District of New York

and for the District of Columbia issued orders granting applications for the appointment of three-

judge courts in separate cases asserting claims that are substantially similar to those that

Plaintiffs have asserted here. See Common Cause v. Trump, 1:20-cv-02023-CRC-GGK-DLF,

ECF No. 33 (D.D.C. Aug. 20, 2020) (copy attached at Tab 1); New York v. Trump, 1:20-CV-

05770-JMF, ECF No. 68 (S.D.N.Y. Aug. 7, 2020) (copy attached at Tab 2).

       Like the claims asserted by the plaintiffs in the Common Cause and New York v. Trump

cases, Plaintiffs’ claims in this action require adjudication by a three-judge court, and their

Application for the appointment of such a court should be granted.

                                         BACKGROUND

       Plaintiffs have brought this action to enjoin and restrain Defendants from carrying out

their unlawful plan, set forth in the Memorandum, to exclude undocumented immigrants from

the congressional apportionment base for the first time in our nation’s history. The actions

contemplated and ordered in the Memorandum are in violation of the Constitution, which states

that “[r]epresentatives shall be apportioned among the several states according to their respective

numbers, counting the whole number of persons in each state,” and excluding only “Indians not

taxed.” U.S. Const., amend. XIV, § 2. Those actions also violate two federal statutes: 13 U.S.C.

§ 141, which requires the Department of Commerce to “tabulat[e] the total population by States .

. . as required for the apportionment of Representatives in Congress,” and 2 U.S.C. § 2a(a),

which requires the President to transmit to Congress apportionment tables “showing the whole

number of persons in each State.” Previous Departments of Justice under the administrations of

both parties, and at least one federal court, have held that the exclusion of undocumented


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immigrants from the apportionment base would be unconstitutional. See Federation for Am.

Immigration Reform v. Klutznick, 486 F. Supp. 564, 576-77 (D.D.C.) (three-judge court), appeal

dismissed, 447 U.S. 916 (1980).

          In addition, because the federal government has no mechanism for conducting an actual,

direct count of the undocumented population within the States—and in fact has been prevented

by the Supreme Court from inquiring about citizenship in the 2020 census1—implementation of

the Memorandum would violate Article I, § 2 of the Constitution, which requires all figures used

in congressional apportionment to be determined via “actual Enumeration.” See Utah v. Evans,

536 U.S. 452, 477 (2002) (recognizing that “the Framers expected census enumerators to seek to

reach each individual household,” and not to use substitute “statistical methods”). Also, because

the Defendants can only effectuate the Memorandum’s instructions by using statistical sampling,

their implementation of those instructions would violate the Census Act, which “directly

prohibits the use of sampling in the determination of population for purposes of [congressional]

apportionment.” Department of Commerce v. U.S. House of Representatives, 525 U.S. 316, 338

(1999); see 13 U.S.C. § 195.

                                            ARGUMENT

I.        Section 2284 requires that a three-judge court be convened.

          In Section 2284, Congress provided that “[a] district court of three judges shall be

convened when otherwise required by Act of Congress, or when an action is filed challenging the

constitutionality of the apportionment of congressional districts or the apportionment of any

statewide legislative body.” 28 U.S.C. § 2284(a). The proposed actions at issue here, as

described in the Memorandum, purport to alter the way in which members of Congress are


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    See Department of Commerce v. New York, 139 S. Ct. 2551 (2019).

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apportioned across the several states, with the inevitable (and intended) result that some states

will lose representatives in Congress. In this action, Plaintiffs allege (among other things) that

this alteration of the congressional apportionment base violates Article I, Section 2 of the U.S.

Constitution, as well as the equal protection guarantees of the Fifth and Fourteenth Amendments.

See Complaint (Docket No. 1) at ¶¶ 158-64, 175-78. These claims constitute a “challeng[e] the

constitutionality of the apportionment of congressional districts” within the meaning of Section

2284(a), and thus require adjudication by a three-judge court.

       Courts hearing constitutional challenges to Executive Branch decisions that affect

congressional apportionment have routinely appointed three-judge courts under Section 2284(a).

See, e.g., Franklin v. Massachusetts, 505 U.S. 788, 791 (1992) (reviewing decision of three-

judge court regarding challenge to practice of allocating overseas federal employees to their

designated home states); Utah v. Evans, 182 F. Supp. 2d 1165, 1167-68 (D. Utah 2001), aff’d,

536 U.S. 452 (2002) (three-judge court convened to address claims that defendants violated

statutory provisions and the Constitution by refusing to count missionaries serving missions

abroad); see also Massachusetts v. Mosbacher, 785 F. Supp. 230, 234-38 (D. Mass. 1992) (three-

judge court statute applies to interstate apportionment of House seats). Indeed, as noted above,

Judge Cooper of the U.S. District Court for the District of Columbia and Judge Furman of the

U.S. District Court for the Southern District of New York have concluded that claims similar to

those that Plaintiffs have asserted here should be heard by a three-judge court, based on Section

2284(a) and the Memorandum’s exclusion of “the whole number of persons in each State” from

the congressional apportionment base. See Common Cause, Case No. 1:20-cv-02023-CRC-

GGK-DLF, slip op. at 1-2; New York, Case No. 1:20-cv-05770-JMF, ECF No. 68 20, slip op. at

2-3. As Judge Furman held, after observing that the Memorandum would have a direct effect on



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the calculation of the apportionment base, “[t]o the extent that Plaintiffs challenge the

constitutionality of the Presidential Memorandum, . . . it would seem that they are challenging

the ‘constitutionality of the apportionment of congressional districts’” within the meaning of

Section 2284(a). New York, Case No. 1:20-cv-05770-JMF, ECF No. 68 20, slip op. at 2; see also

Common Cause, Case No. 1:20-cv-02023-CRC-GGK-DLF, slip op. at 2 (holding that the

plaintiffs’ challenge to the Memorandum on the grounds that it purports to exclude

undocumented immigrants from the congressional apportionment base violates the Constitution

“is squarely a challenge to the ‘constitutionality of the apportionment of congressional districts’”

under Section 2284(a)).

II.    A three-judge court is necessary to confer jurisdiction over Plaintiffs’ claims.

       When an action falls within Section 2284(a) and requires a three-judge court, “a single

judge shall not . . . enter judgment on the merits” of any claim in the action. 28 U.S.C. §

2284(b)(3); see Shapiro v. McManus, 136 S. Ct. 450, 455 (2015). If it is found that the “district

court erroneously refused to convene a three-judge court” under Section 2284, “any “subsequent

merits ruling by the appellate panel is void.” Igartua v. Obama, 842 F.3d 149, 152 (1st Cir.

2016); accord Kalson v. Paterson, 542 F.3d 281, 286 (2d Cir. 2008). Thus, if there were any

doubt that a three-judge court is required here under Section 2284—and there is not—prudence

and judicial economy would favor convening a three-judge court over denying Plaintiffs’

Application. See New York, Case No. 1:20-cv-05770-JMF, ECF No. 68 20, slip op. at 2-3 (noting

that the three-judge court requirement is jurisdictional, and concluding that if the court “cannot

definitively conclude that ‘three judges are not required,’” an application for a three-judge court

should be granted) (emphasis in original).

       Further, the Supreme Court has approved a procedure by which a three-judge court, once

convened, can ensure that its ruling will be valid, even if a reviewing court subsequently
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determines that a three-judge court was not required. See Swift & Co. v. Wickham, 382 U.S. 111,

114 n.4 (1965). Under that procedure, the originally assigned District Judge can certify, out of

“abundant caution,” that “he [or she] individually arrived at the same conclusion that [the three-

judge court] collectively reached.” Federation for Am. Immigration Reform, 486 F. Supp. At

577-78 (citing Swift & Co. v. Wickham, 230 F. Supp. 398, 410 (S.D.N.Y. 1964)). This procedure

ensures that even if a three-judge court is “mistaken[ly]” convened, its efforts will not be wasted

and “an appeal can still be expeditiously taken in the appropriate forum.” See id. By contrast,

there is no equivalent procedure for a single-judge court to prevent its merits decision from being

voided if an appellate court concludes that a three-judge court was required.

       In sum, an order appointing a three-judge court to preside over this action is both

necessary and appropriate to ensure the Court’s jurisdiction.

                                         CONCLUSION

       For all of the foregoing reasons, Plaintiffs respectfully request that the Court grant its

Application for appointment of a three-judge court to preside over this action.




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                                   HAITIAN-AMERICANS UNITED, INC.,
                                   BRAZILIAN WORKER CENTER,
                                   CHELSEA COLLABORATIVE, INC., and
                                   CENTRO PRESENTE

                                   By their attorneys,

                                   /s/ Patrick M. Curran, Jr.
                                   Neil V. McKittrick (BBO #551386)
                                   Patrick M. Curran, Jr. (BBO #659322)
                                   Anna B. Rao (BBO #703843)
                                   Ogletree, Deakins, Nash, Smoak
                                   & Stewart, P.C.
                                   One Boston Place, Suite 3220
                                   Boston, MA 02110
                                   Tel: (617) 994-5700
                                   Fax: (617) 994-5701
                                   neil.mckittrick@ogletreedeakins.com
                                   patrick.curran@ogletreedeakins.com
                                   anna.rao@ogletreedeakins.com


                                   Oren Sellstrom (BBO #569045)
                                   Lauren Sampson (BBO #704319)
                                   Lawyers for Civil Rights
                                   61 Batterymarch Street, 5th Floor
                                   Boston, MA 02110
                                   (617) 988-0609
                                   lsampson@lawyersforcivilrights.org




Dated: September 4, 2020




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                                CERTIFICATE OF SERVICE

        I hereby certify that on September 4, 2020, the within document filed through the
CM/ECF system will be sent electronically to the registered participants as identified on the
Notice of Electronic Filing, and paper copies will be sent by mail to those indicated as non-
registered participants on September 8, 2020.



                                             /s/ Patrick M. Curran, Jr.
                                             Patrick M. Curran, Jr.


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